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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
TAMMY KITZMILLER, et al.,

Case No. 04-CV-2688
(Hon. Judge Jones)

Plaintiffs,

Vv.

DOVER AREA SCHOOL DISTRICT and DEFENDANTS PROPOSED
DOVER AREA SCHOOL DISTRICT FINDINGS OF FACT
BOARD OF DIRECTORS, AND CONCLUSIONS OF
LAW
Defendants.

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PART TEN
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The Plaintiffs’ seek to disqualify IDT as “science” simply because some

(not all) of the possible hypothesis left open by IDT theorist may coincide

with some (not all) religious or philosophical beliefs.

a.

But such mere consistency cannot disqualify a scientific theory as a
matter of fact. Cf. FF 765-770.

And it is fundamental that mere coincidence, in this case between
scientific hypothesis and certain religious or philosophical beliefs,
provides no grounds to void a policy on the theory it is an
establishment of religion. Cf Harris v. McRae, 448 U.S. 297, 319-
320, 100 S.Ct. 2671, 2689-2690 (reasoning that Hyde Amendment
prohibiting funding for abortion did not violate Establishment Clause
simply because the values it reflected happened to coincide with
religious beliefs of some religious groups.); McGowan v. Maryland,
366 U.S. 420, 442-43, 81 S.Ct. 1101, 1113-14 (reasoning that
Establishment Clause does not ban laws simply because rationale for
law “happens to coincide or harmonize with the tenets of some or all

religions.”).

943. These primary effects of DASD’s curriculum change advance wholly

legitimate and secular educational goals, generally speaking—to advance

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science education by making students aware of another scientific theory,
IDT, and the controversy surrounding IDT and ET. Any other effects of the
curriculum change are secondary.

The Court rejects the Plaintiffs’ assertions that DASD’s policy does not
advance DASD’s goals because these assertions boil down to nothing more
than difference in judgment concerning the wisdom of the Board’s
educational goal given the current standing of IDT in the scientific
community or the efficacy of the measure that the Board chose in an effort
to advance its goal. This line of argument fails to take into account the
actual and modest goal of the Board: to make students aware of IDT and the
controversy concerning ET and IDT in the scientific and academic
community. More fundamentally, the Establishment Clause does not
empower the Plaintiffs to second-guess the Defendants’ lawful exercise of
authority to determine curriculum based on nothing more than differing
views concerning the wisdom of the chosen pedagogical goal or efficacy of
means by which that goal is advanced. Quite the contrary, it is fundamental
that the Board’s exercise of authority is entitled to this Court’s deference.
The Court also finds that the Plaintiffs cannot prove that the primary effect

of DASD’s curriculum policy is to advance religion by pointing to an

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“endorsement” of religion which they—or others—would attribute to DASD’s
curriculum policy.’ The Plaintiffs’ recourse to the endorsement test is
improper because no Court is free to set aside Supreme Court precedent on
the theory that intervening case law has somehow changed the law where, as
here, the controlling case is clear. See Agostini, 521 U.S. at 237 (“ifa
precedent of this Court has direct application in a case... the Court of
Appeals should follow the case which directly controls, leaving to this
Court the prerogative of overruling its own decisions.”); Ofto v.
Pennsylvania State Education Association-NEA, 330 F.3d 125, 132-33
(2003 (following Supreme Court precedent despite questions because
““[a]bsent a counter directive by the Supreme Court, we likewise make no
exception.”). As the Third Circuit has recognized, the “endorsement” test
has been developed for, and applied with respect to, cases involving
religious displays. See, e.g., Modrovich v. Allegheny County, 385 F.3d 397,
401 (3" Cir. 2004) (“[T]he ‘endorsement’ test modifies Lemon in cases
involving religious displays on government property.”). The Supreme

Court has never applied the endorsement test to claims that curriculum

 

"In the interest of economy. efficiency, (and shared humanity), Defendants will address the Plaintiffs’
effects argument in detail in connection with their rebuttal submissions so as to avoid piecemeal arguments on this
issue.

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violates the Establishment Clause and therefore, “[a]bsent a counter

directive by the Supreme Court,” see Otto, 330 F.3d at 132-33, this Court

must “likewise make no exception,” id, to the straightforward application of
the Lemon test the Supreme Court has employed with respect to claims that
the purpose and effect of a curriculum change was to advance religion.

Moreover, it is clear that Plaintiffs cannot be allowed to use newspaper

clippings claiming that the board sought to advance a religious purpose to

prove that the board’s policy has the effect of advancing religion.

a. As found above, the primary effect of the curriculum change was the
statement to be read to students.

b. Indeed, the evidence shows that the board did not even discuss or
contemplate the press release or newsletter at the time the curriculum
policy was approved by the board such that these actions were, at
most, not intended but secondary and incidental effects—not of the
curriculum change—but of inaccurate reporting about the curriculum
change. FF 484, 534.

C, This all goes to show that there is no way the board can be liable for
reports issued by third parties who are not authorized to speak for the

board and who are not under the control of the Defendants. For these

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reasons the Court concludes, as a matter of fact and law, that the

newspaper articles cannot be used as evidence of the purpose or effect

of the Defendants’ policy.
Finally, it is likewise clear that Plaintiffs’ use of newspaper clippings and
the like as evidence of public controversy concerning the legitimacy of the
Board’s curriculum policy cannot stand-in for an actual constitutional
violation. The reason is obvious: on this theory mere controversy becomes
the ersatz substitute for a genuine constitutional violation. The Supreme
Court has already rejected this argument in another context precisely
because it makes accusation (no matter how baseless) tantamount to
conviction. See Lynch v. Donnelly, 465 U.S. 668, 683-84 (1984)(rejecting
claim that political divisiveness provides basis for Establishment Clause
violation).
The adherence to controlling case law which precludes application of the
“endorsement test” to a curriculum change—and is required by law—is
particularly appropriate where, as here, the purported change in the law
lacks appeal to common sense. One need look no further than the Plaintiffs’
arguments to see the unjust and absurd results that would follow from an

effort to apply the endorsement test to this case. In this case Plaintiffs

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would ground their claim that DASD’s curriculum policy endorses religion,
not on the text of the statement read to students (the actual effect of the
curriculum change) but on newspaper stories asserting that DASD’s policy
is religious. By this slight of hand, the hearsay characterization of DASD’s
policy trumps the actual effects of the policy proven by evidence in this
court of law.*

The Plaintiffs effort to prove the effects of DASD’s curriculum policy by
means of press clippings must be rejected for other reasons. If the
Plaintiffs’ use of newspaper stories as proof of the board’s board’s policy
advances religion, were accepted, a change to the ninth grade curriculum
which results in a statement read to students, has a primary effect that
advances religion not just in Dover but the world. This Court cannot accept
the Plaintiffs’ effort to equate primary effect with “butterfly effect”
precisely because it finds no support in the law, and the result would be
chaotic.

In sum, the Court finds that Edwards, supra, actually supports the

Defendants policy in this case precisely because the Supreme Court took

 

‘First, if such evidence were proof, then there would be no need for trials. Plaintiffs could base their claims

on news reports and prevail regardless of the truth of the matters asserted therein. Second,

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pains to point out that “teaching a variety of scientific theories about the
origins of humankind to school children, might be validly done with the
clear secular intent of enhancing the effectiveness of science instruction.”
Edwards, 482 U.S. at 594. Defendants’ policy is a modest step in that
direction, making students aware of IDT as a theory which differs from ET
while focusing teaching effort on ET as recommended by science faculty,
and from this it follows that the Plaintiffs’ claim must be—and hereby

are—rejected.

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CONCLUSION
For these reasons, this Court will deny the Plaintiffs’ request for relief and
enter judgment dismissing, with prejudice, the Plaintiffs’ claim. A separate

judgment will be entered pursuant to this opinion and order.

Respectfully submitted,

22 November 2005 7) , Hf
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